
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a2506-15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a1506-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2500-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2501-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2504-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2507-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0506-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2576-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3506-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2596-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2606-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2806-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2906-15.pdf (mistyped character)


IBM_HTTP_Server at www.judiciary.state.nj.us Port 443
